Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 1 of 17

BEFORE THE JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

 

IN RE GOOGLE ANTITRUST MDL No. 2981
LITIGATION

 

 

PLAINTIFF’S REPLY MEMORANDUM IN SUPPORT OF MOTION FOR
TRANSFER PURSUANT TO 28 U.S.C. § 1407

I. INTRODUCTION

Resolution of the motion of Plaintiff-Movant J. Jackson Paige (“Plaintiff’ or “Paige”) is
unusually, if not uniquely, consequential even in this august forum, which considers so many
monumental and sprawling cases in the United States Court system. Just as with the important
mass tort, securities, and cartel cases that this Panel frequently considers, the current circumstances
counsel immediate centralization. Because the United States and eleven States' have filed their
civil enforcement complaint in Washington, DC, the center of gravity in the related private cases
is in the Nation’s Capital. This Panel should assign all recently-filed, Google-related antitrust
litigation to the United States District Court for the District of Columbia.

Google is one of the most successful business enterprises in the history of capitalism. Its
ubiquitous business is multifarious and complex. Its operations reach desks, pockets, and purses
in every continent. Its stock price moves markets. Its name has become a verb in the English

language.”

 

    
   

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' Among the eleven States is the Commonwealth of Kentucky.

  

? According to Google, the term “google” means “to use the Google search engine to obtain
information about (someone or something) on the World Wide Web.” “google.” Merriam-Webster
Online Dictionary. 2020. http://www.merriam-webster.com (5 Dec. 2020).

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Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 2 of 17

All cases encompassed by this motion have in common one overarching issue: each case
challenges the core business practices of perhaps the world’s leading information enterprise. For
this reason, consistency of rulings in these cases is vital. While it is possible for multiple cases
addressing the same issues to proceed on parallel schedules in various jurisdictions with each case
involving only a limited a number of parties, there is a genuine risk of inconsistent rulings,
unnecessary complexity, and costly coordination of issues between multiple Courts. It would be
more efficient for the parties, witnesses, Courts, and ultimately the Nation if private litigation about
Google’s alleged monopolistic practices were all to proceed in the same forum as the case of the
United States and the States.

Not at issue, in Plaintiffs view, are the qualifications, capabilities, or efforts of any of the
three exemplary federal jurists with Google cases in their courtrooms. All three judges in these
cases, Judge Mehta (District of Columbia), Judge Donato (Northern District of California—San
Francisco) and Judge Freeman (Northern District of California—San Jose) are experienced and
have begun to move the cases before them with skill. Also not at issue is the accessibility of the
various fora. The District of Columbia is convenient. As Google will be participating in the
Government case in District of Columbia in any event, any extra burden on Google is at best at
the margins.

A key consideration is the burden of these cases on the Federal Court system. Litigated

antitrust cases in general,? and government monopoly cases in particular, tend to be protracted.

 

3 “From 2009-2019, most antitrust class actions that reached final approval did so within 5-7
years.” See Ex. A to Declaration of Jonathan W. Cuneo, Davis, Josh Paul and Kohles, Rose, 2019
Antitrust Annual Report: Class Action Filings in Federal Court (August 2020). Experience teaches
that the Government’s civil enforcement action in Washington is likely to be pending for a period
of years as Google has indicated that it will answer the Justice Department of Justice’s complaint
on December 21, 2020, and not move to dismiss it.
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 3 of 17

The Panel is likely aware that the Government’s antitrust case against IBM consumed almost
thirteen years* and that the Government’s AT&T case lasted eight years from inception to the
announcement of a settlement.° The Government’s monopolization case against Microsoft lasted
at least four years.°

By antitrust standards, the cases sought to be transferred are in their infancy.’ As more

cases are likely to be filed, resolution of the appropriate venue now is in everyone’s and the
judiciary’s interest. Although the motion’s opponents make forceful arguments, those arguments
are mostly based on the parochial interests of the litigants and their attorneys in particular cases,
not the interests of the court system or the Nation. Consistency, harmony, efficiency, and
convenience all favor centralization in Washington, DC:

e Consistency: One Court, not multiple Courts, will undertake to understand Google’s
complicated business, its myriad agreements with suppliers, and its arrangements with
customers and developers worldwide; the markets in which it functions; how it
exercises its market power; and its relation to competitors.

e Harmony: The cases will develop through the tools of complex litigation, such as
protective orders, discovery orders, search criteria, information preservation protocols
and deposition conventions. Having a single Court address these issues will avoid
duplication of judicial resources and increase consistency.

e Efficiency: A single venue avoids inconsistent ground rules, duplication of the same

evidence, and use of repeated expert testimony. There is significant overlap between
the Government’s case and each of the private cases.

 

* See Tim Wu, A simple plan to dissolve Facebook, Google, and Amazon, available at
https://www.vox.com/the-goods/2018/1 1/8/18076440/facebook-monopoly-curse-of-bigness-tim-
wu-interview.

> See Wikipedia, Breakup of Bell System,
https://en.wikipedia.org/wiki/Breakup_of_the_Bell_System (as of Dec. 6, 2020, 00:30 GMT).

§ See Wikipedia, United States v. Microsoft Corp.,
https://en. wikipedia.org/wiki/United_States_v._Microsoft_Corp. (as of Dec. 6, 2020, 00:30
GMT).

7 See Ex A., supra note 2.
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 4 of 17

e Convenience: Washington, DC is an accessible and available forum. Google has an
entire DC-based legal team for the government’s case. Many, if not most, of the firms
in the California actions have a Washington, DC or East Coast presence. Further,
hearings and conferences via Zoom make the arguments of the opposition even weaker.
To be clear, Plaintiff is not seeking to consolidate the private cases with the cases brought
by the United States and the eleven States. If any States or governments bring further actions,
Paige will not seek to consolidate these actions with the private actions, either as tag-along actions
or otherwise. Rather, placing the private civil actions before the same Judge who handles the
Government’s case will eliminate significant transaction costs, and ensure that all actions proceed
expeditiously and efficiently as possible.
Il. THE WEIGHT OF THE ACTIONS IS IN THE DISTRICT OF COLUMBIA.

Currently pending in the California District Courts are approximately a dozen cases filed
by app purchasers, developers, and advertisers. The app purchaser and developer cases are before
Judge Donato and the advertiser case is before Judge Freeman. All are in their beginning stages.
To date, no case has survived a motion to dismiss; no answers have been filed; no class motions
are pending; and no class or classes have been certified. Also, no issues have been joined.
Ironically, almost half of the identified plaintiffs in the California actions reside closer to
Washington, DC, than to San Francisco, CA, as is apparent from their complaints, attached to
Plaintiffs initial motion to transfer.

As against these individual actions, the United States and eleven States (including two of

the three most populous States in the country) filed their enforcement cases in the District Court

for the District of Columbia. (The United States has informed Judge Mehta that several other States
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 5 of 17

may bring cases.*). Antitrust cases are frequently transferred to the district where the Government's
enforcement action is pending or where the grand jury investigated. See In re: Am. Exp. Anti-
Steering Rules Antitrust Litig., 764 F. Supp. 2d 1343, 1345 (J.P.M.L. 2011); In re Cuisinart Food
Processor Antitrust Litigation, 506 F. Supp. 651, 654 (J.P.M.L. 1981); In re Qualcomm Antitrust
Litig., 273 F. Supp. 3d 1373, 1376 (J.P.M.L. 2017).

The existence and impact of the Government action has been largely ignored by opponents
to the Paige Motion to Transfer. That action will proceed with the full weight of the Federal
Government and State resources. Government enforcers may well want to avail themselves of
private resources when feasible (e.g., sharing database and discovery costs), and will want to
ensure that private cases do not impede with Government cases.’ The most effective and efficient
way to accomplish this goal is to place both the public enforcement cases and all the relevant

private civil cases before the same Court.'°

 

8 See Ex. B to Declaration of Jonathan W. Cuneo, Transcript of November 18, 2020 Hearing,
United States, et al. v. Google LLC, No. 1:20-cv-03010 (D.D.C.).

? See Dunlavey v Takeda Pharmaceuticals America, Inc., 2012 WL 3715456, *2 (W.D. La. 2012)
(stating that cooperation between state and federal judges is advised and will often aid in the
efficiency of discovery).

'0 Indeed, it has been argued that the crucial issue in determining whether to order MDL treatment
is not whether there are common questions or whether the parties will be inconvenienced, but
whether “the economies of transfer outweigh the resulting inconvenience to the parties.” Jn re
Data General Corp. Antitrust Litigation, 510 F. Supp. 1220, 1225 (J.P.M.L. 1979); In re Air Crash
at Schenley Golf Course, Pittsburgh, Pa., on August 21, 1977., 509 F. Supp. 252, 253 (J.P.M.L.
1979).
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 6 of 17

IW. JUDGE MEHTA HAS MADE SIGNIFICANT PROGRESS IN ADVANCING THE
GOVERNMENTAL ENFORCEMENT ACTIONS.

The Government entities filed their case in Washington, DC on October 20, 2020, and it
was assigned to Judge Amit Mehta on October 21, 2020. In the approximately 45 days since filing,
Judge Mehta has already held three hearings and made significant progress in the case.

e On October 30, 2020, Judge Mehta set an answer date for December 21, 2020. Judge

Mehta asked about Google’s intent to file a Motion to Dismiss or Answer. Google
promised to notify the Court of its decision by November 13, 2020."

e Under the Judge’s guidance, the parties have discussed the following issues

o The need for, and the details of, a protective order;

o Initial disclosures;

o Google’s request that the Government begin producing investigative
materials, including documents produced by third parties, declarations and
depositions; and

o A joint status report due by November 6.

e On November 18, 2020, Judge Mehta held another hearing at which Google stated it
would not move to dismiss, but would file an answer by December 21, 2020. Third
parties have appeared and asked for additional time to file position papers on the
protective order.

o At the same hearing, the Justice Department stated that the States of Iowa,

Nebraska, Colorado, Tennessee, New York, North Carolina, and Utah are

 

"! See Ex. C to Declaration of Jonathan W. Cuneo, Transcript of October 30, 2020 Hearing, United
States, et al. v. Google LLC, No. 1:20-cv-03010 (D.D.C.).
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 7 of 17

completing Google investigations. If any of these jurisdictions file cases, they
will move to consolidate their actions with the existing Government
enforcement action and would litigate and consolidate cooperatively.

o Atthe same hearing, the Court requested that parties begin processing Rule 16.3
statements to focus on issues including the scope of discovery, the length of
discovery, the limitations and modes of discovery, depositions and so forth.
The Court also guided a discussion of materials that third parties have prepared
for the Department of Justice. At the conclusion, the Judge set a hearing for
December 2, 2020 and another hearing on December 18, 2020.

o The Justice Department expected to include an estimated 100 witnesses in its
initial disclosures and informed Google that third parties had produced roughly
1.5 million documents in the government investigation.

e Atthe December 2 hearing, Judge Mehta arranged for the following:

o A due date ofa revised proposed protective order of December 14, 2020. Third-
Party Submission(s) are due by December 15, 2020;

o A status conference on December 18, 2020; and

o Google will file an answer by December 21, 2020.13

 

12 See Ex. B to Declaration of Jonathan W. Cuneo.

3 See Ex. D to Declaration of Jonathan W. Cuneo, Transcript of December 2, 2020 Hearing,
United States, et al. v. Google LLC, No. 1:20-cv-03010 (D.D.C.).
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 8 of 17

IV. SIGNIFICANT OVERLAP AND COMMON ISSUES OF FACT EXIST BETWEEN
THE GOVERNMENT, DIGITAL ADVERTISING, AND GOOGLE PLAY
ACTIONS.

Although opponents of transfer concede that the Google Play actions brought by
developers and consumers are factually very similar,’* various parties suggest that the
Government, Digital Advertising, and Google Play actions do not overlap and have no common
factual issues. However, “[s]ection 1407 does not require a complete identity or even a majority
of common factual or legal issues as a prerequisite to transfer.” In re Darvocet, Darvon and
Propoxyphene Products Liability Litigation, 2013 WL 1635469, *1 (J.P.M.L. 2013).

Although the three sets of actions focus on different portions of Google’s business, the two
sets of private actions—the Digital Advertising and Google Play actions—are both offshoots
encompassed within the Government Action. Comparisons of the various complaints reveal
considerable overlap.'° Beyond these similarities, testimony and other evidence on overlapping
factual and legal issues will also be required in all three sets of cases. All of the actions are likely
to involve expert testimony on similar substantive and economic issues, including testimony by
experts about Google’s allegedly anticompetitive conduct and the economic effects of its Search,
Digital Advertising, Android, and Google Play operations and platforms. In this case, the

similarities and efficiencies will outweigh the differences. See In re: Bank of Am. Wage & Hour

Employment Practices Litig., 706 F. Supp. 2d 1369, 1370 (J.P.M.L. 2010) (“To be sure, there are

 

4 See Ex. E to Declaration of Jonathan W. Cuneo (Comparison of the Digital Advertising and
Government complaints).

'S See Ex. F to Declaration of Jonathan W. Cuneo (Comparison of Developer and App Purchaser
Google Play complaints with the Government complaint); Ex. E.
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 9 of 17

differences among the cases. However, as a general rule, the similarities seem to outweigh the
differences.”).

Although the Digital Advertising action has progressed further than the other actions have,
it is still at an early stage, and is only seven months old.!® A consolidated amended complaint was
just filed on December 4th, and no motions are pending against it.'’ It makes sense from both
efficiency and coherence of law perspectives to adjudicate the Digital Advertising action in an
MDL.

Transfer opponents point to the differing market definitions in the various complaints.
While it is true that the two private complaints focus on narrower markets than does the
Government complaint, this difference is not determinative. The presence of several individual
issues will not necessarily result in the denial of transfer. See In re Generic Digoxin and
Doxycycline Antitrust Litigation, 222 F. Supp. 3d 1341, 1343 (J.P.M.L. 2017). In Digital
Advertising, the larger context is that Google directs a huge proportion of Internet traffic (and
therefore viewership that is monetizable via advertising) with its Search franchise.

The Google Play actions are even more similar to the Government action. At stake in the
Google Play actions will be how Google acquired its dominant position in the open-source mobile
operating system market and, in turn, the app store market. Google is alleged to have advanced
Android and the Google Play Store using funds from Google’s Search business. To bring this full
circle, Google’s dominance in the mobile operating system market serves to create a feedback loop

that reinforces the dominance of its Search franchise when users search for content on their mobile

 

16 See Complaint, In re Google Digital Advertising Antitrust Litig., No. 5:20-cv-03556-BLF, ECF
No. 1.

'7 See Devaney Opp., at 3.
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 10 of 17

phones. As with the Digital Advertising action, a fundamental question will be whether Google
enjoys a dominant position in a certain market (in the case of Google Play, the mobile OS and app
store market) because it made a better mousetrap, or because it has essentially subsidized the
product with money and/or competitive advantage derived from its dominance in Search.

The Government complaint, as currently written, does not yet identify the particular
injunctive relief sought. There is no reason to assume that the relief sought will be limited to
Google’s business practices concerning its Search platform. In fact, to the extent that Google is
alleged to have leveraged its monopoly in Search in order to engage in conduct in related markets,
it is reasonable to expect that the Government parties will likely seek relief that is not strictly
cabined to Google’s Search franchise. In addition, there is reason to believe that the scope of the

Government parties’ case against Google may expand. '®

V. GOOGLE’S FORUM SELECTION CLAUSE, EVEN IF VALID, DOES NOT BIND
THIS PANEL.

In the Paige action, Google has made a motion to transfer, relying principally on a forum
selection clause in its contract. Plaintiff Paige intends tomorrow to file an opposition to that motion
which demonstrates that that forum selection clause does not apply. Even if it were applicable, it
is not binding on this Panel. See In re: Park W. Galleries, Inc., Mktg. & Sales Practices Litig., 655
F. Supp. 2d 1378, 1379 (J.P.M.L. 2009) (quoting Jn re Falstaff Brewing Corp. Antitrust Litigation,
434 F. Supp. 1225, 1229 (J.P.M.L.1977) (“the Panel ‘is not encumbered by considerations of
venue’”). Google has adduced no authority even suggesting that such a clause is persuasive on the

subject of JPML transfer and consolidation.

 

'8 John D. McKinnon, Facebook, Google to Face New Antitrust Suits in U.S., Wall Street Journal
(Nov. 30, 2020), https://(www.wsj.com/articles/facebook-google-to-face-new-antitrust-suits-in-u-
s-11606742163.

10
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 11 of 17

Forum selection clauses in no way limit the authority of this Panel. Section 1407(a)
provides that cases may be consolidated “in any district,” 28 U.S.C. § 1407(a) (2018), and the
Panel has consistently held that it is not required to abide by the terms of a forum-selection clause.
In In re Medical Resources Securities Litigation, the Panel explained that “contractual forum
selection clauses do not limit the Panel’s authority with respect to the selection of a transferee
district.” In re Med. Res. Sec. Litig., MDL No. 1247, 1998 U.S. Dist. LEXIS 15832, at *3 (J.P.M.L.
Oct. 7, 1998). Similarly, in In re Disposable Contact Lens Antitrust Litigation, the Panel rejected
the argument that the collection of actions in which the defendant was involved had to be
transferred to the Northern District of California per the parties’ forum-selection clause. Jn re
Disposable Contact Lens Antitrust Litig., 109 F. Supp. 3d 1369, 1371 (J.P.M.L. 2015).

The same is true for orders transferring “tag-along” actions filed after the consolidation of
an existing MDL. In its transfer order consolidating two cases with a preexisting MDL in Park
West Galleries, Inc., the Panel reiterated that “[w]hen civil actions satisfy the criteria set forth in
28 U.S.C. § 1407(a), the statute authorizes the Panel to centralize those actions (as well as any
subsequently identified tag-along actions) in ‘any district.’” Park West Galleries, 655 F. Supp. 2d
at 1379. The Panel has recently reaffirmed this principle. See In re Qualcomm Antitrust Litig., 273
F. Supp. 3d 1373, 1376 (J.P.M.L. 2017) (citing In re: Park W. Galleries, Inc., Mktg. & Sales
Practices Litig., 655 F.Supp.2d 1378, 1379 (J.P.M.L. 2009)) (“[FJorum selection clauses do not

limit the Panel's authority under Section 1407.”).

11
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 12 of 17

VI. OPPONENTS’? ARGUMENTS AGAINST THE PAIGE §1407 MOTION ARE
WITHOUT MERIT.

A. No California Case Has Progressed Past a Motion to Dismiss Whereas
Google’s Answer in the District of Columbia Will be Filed Later this Month.

Transfer opponents argue that progress in the California cases precludes transfer. Yet, the
parties in those cases have only taken initial steps in what promises to be protracted, complex,
multiparty litigation. See In re Blue Buffalo Co., Ltd., Marketing and Sales Practices Litigation,
53 F. Supp. 3d 1385, 1386 (J.P.M.L. 2014) (Panel ordered MDL treatment of cases despite the
argument that one of the cases was poised to proceed at a faster pace than the others). There is no
reason why much of the progress that the parties have made could not be easily incorporated into
an action in Washington, D.C. Some parties argue that the California actions are on a faster track.
Judge Mehta’s prompt attention to the Government cases shows that these arguments are
misconceived. In the California actions, there have been no answers filed and no decisions on any
motions to dismiss, and of course no class certification motions have been filed in any California
actions. In contrast, Google has agreed to file its Answer in the Washington action before the end
of December 2020. Thus, while, in the Government case, Google will answer before the end of
the year; the same cannot be said of any California action.

B. The Epicenter of This Litigation Is in the District of Columbia.

The suggestion that the “epicenter of the litigation is in California” is not an accurate
statement of current affairs. The Government case shifted the center of gravity to Washington,
DC. That is why counsel filed here.

Cc. Opponents Erroneously Argue that the Effect of the Government Action is
Limited.

Opponents’ arguments that the location of the Government action has little or no effect is

contrary to established law. As the decisions of numerous prior panels dictate, private actions

12
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 13 of 17

should be placed in the same court as public ones, when doing so is feasible. In re: Am. Exp. Anti-
Steering Rules Antitrust Litig., 764 F. Supp. 2d 1343, 1345 (.P.M.L. 2011); In re Qualcomm
Antitrust Litig., 273 F. Supp. 3d 1373, 1376 (J.P.M.L. 2017) (“Also pending in the district is the
FTC’s enforcement action”); In re Chrysler-Dodge-Jeep EcoDiesel Mktg., Sales Practices &
Prod. Liab. Litig., 273 F. Supp. 3d 1377, 1378 (J.P.M.L. 2017).

D. Transfer Would Not Be Disruptive.

Certain opponents of the transfer suggest that the motions to transfer would be disruptive
to certain agreements between the plaintiffs in the actions before Judge Donato, who have
consolidated their cases. This argument has nothing to do with the proper forum for this case.
There is no reason to believe that progress made in the actions pending before Judge Donato could
not be transferred to Washington, DC.

E. Opposing Parties Fail to Respond to The Vast Majority of the Caselaw cited
by Plaintiff.

Certain opponents assert that pendency of the Government action in the District of
Columbia does not require transfer. While this single factor may not indeed be outcome
determinative, it is undeniable that the existence of the enforcement action in DC must be taken
into consideration—particularly here—considering the fact that this case focuses on the conduct
of a single company: Google. The pendency of the Government action in Washington, DC may
not be dispositive, but it is indeed weighty, and its significance is being overlooked. Opposing
parties fail to address the vast majority of the considerable authority cited by Plaintiff in his initial

brief. !9

 

'9 Paige Mot. at 8-10.

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Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 14 of 17

F. California Is Not Necessarily A More Convenient Forum for Witnesses.

Some parties argue that the convenience of witnesses factor dictates denial of the motion
to transfer, pointing out that Google is headquartered in the Northern District of California. In
examining this argument however, it is important to note that Google witnesses will not be the
only witnesses in these cases. There will be third-party developers, like Epic, headquartered in
North Carolina, and Callsome, located in New York, competitors, such as Smartapp, located in
Rhode Island, as well as others who have business relationships with Google.”° As stated above,
many of the parties are located closer to Washington, DC than they are to San Francisco. Google
witnesses will necessarily appear in the DC action anyway. The question is whether they will have
to appear once or twice. Two fora cannot be more convenient for Google than one.

G. Transfer Under § 1407 is Superior to Transfer Under § 1404.

There is a great deal of interest in the Google antitrust matters, and, as Google notes

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“millions of users in the United States use Google Play to access apps and in-app services
are therefore affected by its conduct set forth in the complaints at issue. Additional actions have
been filed in the Northern District of California, and it is highly likely that additional actions will
be filed in other districts as well. Serial ad hoc motion practice and transfer pursuant to § 1404 of
every case filed is not only a waste of judicial resources; it is also unlikely to be sufficient to
transfer all of the relevant actions before the same judge for efficient adjudication. The proposal

to deny Paige’s motion in favor of these § 1404 motions, none of which have been granted, requires

an assumption that each Google Play user agreed to a valid and applicable forum selection clause,

 

20 Google argues that third-party witnesses will be drawn from all over the world, citing LG and
Samsung. Both of these entities have U.S. offices. In fact, LG’s offices are in New Jersey.

21 Google Opp., at 12.
14
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 15 of 17

and that the forum selection clause applied to each user’s purchases. Google’s argument also rests
on the untenable assumption that there will not be multiple judges who reach different conclusions
about forum selection clauses cited by Google—indeed the purpose of 1407 transfer is to avoid
these judicial inconsistencies. In addition, Google neither suggests that every Google Play user
signed an agreement containing a forum selection clause, nor that all purchases made on the
Google Play platform were made only after users entered into an agreement containing a valid
forum selection clause.

Google cites this Panel’s decision in Capacitors, a case that had been going on for two
years in the transferor district at the time the Motion to Transfer was made, making the creation
of a centralized multidistrict litigation at that juncture impracticable. In re Capacitors Antitrust
Litig. (No. II), 223 F. Supp. 3d 1340, 1342 (J.P.M.L. 2016). Further, the proceedings in that case
involved only three actions, meaning that “the proponent bears a heavier burden to demonstrate
that centralization is appropriate.” Jd. Here, there are over a dozen private cases, in three districts,
and multiple government cases. Jd. Therefore, unlike in Capacitors, where the Panel decided that
“if transfer ultimately cannot be effectuated through Section 1404, voluntary cooperation and
coordination among the parties and the involved courts may be feasible,” id., here that is not the
case.

This Panel has previously denied an attempt by a defendant to avoid centralization under
§ 1407 in favor of its pending motion under § 1404. In Schnuck Markets, the defendant argued, as
Google does here, that the plaintiffs’ § 1407 Motion should be denied because defendant had
pending motions under § 1404, and 1404 was the superior mechanism for transfer for trial and pre-
trial purposes. In re: Schnuck Markets, Inc., Customer Data Sec. Breach Litig., 978 F. Supp. 2d

1379, 1380 (J.P.M.L. 2013). However, the Panel held that a 1404 motion would be unlikely to

15
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 16 of 17

moot the multidistrict character of the litigation, finding, that “[w]ith an estimated 2.4 million
affected customers and stores in five states, additional tag-along actions also may be filed in this
litigation” and decided that “centralization is most appropriate now.” Schnuck Markets, 978 F.
Supp. 2d at 1381 (distinguishing In re Gerber Probiotic Prods. Mktg. & Sales Practices Litig., 899
F.Supp.2d 1378 (J.P.M.L. 2012), relied upon by Google and the Capacitors opinion cited supra).
The Panel distinguished other cases where it had denied § 1407 motions in favor of §1404 motions,
on that bases that, in those cases, the parties had agreed to transfer pursuant to §1404 or the § 1404
motion had already been granted, neither of which is true here, Id.

Google’s argument should be seen for what it is—an attempt to advance its own motion to
transfer, pursuant to its forum selection clause, filed in a separate forum, and circumvent the settled
law that “forum selection clauses do not limit the Panel's authority under Section 1407.” Park W.
Galleries, 655 F.Supp.2d at 1379. Google’s attempts to argue its 1404 motion (Google Opposition,
at 10-15) that is pending before Judge Mehta are inappropriate, not relevant to this motion and
should be disregarded. Mr. Paige intends to oppose Google’s 1404 motion and will provide its
opposition to this Panel, upon request, if the Panel is inclined to consider these arguments.

Google also argues that Paige does not reside in the District of Columbia, citing Jewell, but
the court in that case held that even a non-resident’s choice of the District of Columbia deserved
certain deference “because of the District of Columbia's meaningful ties” to the case. Gulf
Restoration Network v. Jewell, 87 F. Supp. 3d 303, 312 (D.D.C. 2015). With the Government
Litigation proceeding in the District of Columbia, it is unarguable that this District has “meaningful

ties” to the forum.

16
Case 1:20-cv-03010-APM Document 80-1 Filed 12/14/20 Page 17 of 17

H. The Arguments Attacking Paige Counsel Are Irrelevant and Without Support

in the Record.

Neither Paige nor his counsel are at issue in this motion. The suggestion that Paige's
counsel filed the motion under § 1407 in order for his counsel to become Court-appointed lead

counsel is without any support in the record and the Court should disregard these ad hominem

attacks.

VII. CONCLUSION

For the above reasons, Paige’s Motion for Transfer should be granted.

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17

Respectfully submitted,

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